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                                                         July 6, 2020

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       On behalf of our client, Ghislaine Maxwell, we respectfully submit this letter in response
to the Court’s order from earlier today regarding the scheduling of the arraignment, initial
appearance, and bail hearing in this matter. We have been attempting to contact our client at the
Metropolitan Detention Center; we were able to speak to her for the first time today just before
9:00pm this evening. She has agreed to waive her physical presence for these proceedings.

       As directed by the Court, we have met and conferred with the Government regarding
scheduling. All parties will be able to proceed remotely on the morning of July 14, 2020. The
defense will not be able to proceed on July 9, 2020.

        We will meet and confer further with the Government tomorrow regarding a proposed
briefing schedule and anticipate providing a joint proposed briefing schedule for the Court’s
consideration by the end of the day.


                                                         Respectfully submitted,

                                                           /s/ Mark S. Cohen       .
                                                         Mark S. Cohen
                                                         Christian R. Everdell
                                                         COHEN & GRESSER LLP
                                                         800 Third Avenue, 21st Floor
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